                                      US Court of Appeals - Eighth Circuit
                                              NOA Supplement
Caption:                                                                                USCA#:
  State of Arkansas et al v. United States Department of Education et al


Case Number:
  4:24-CV-00636-RWS

Plaintiff:                                                 Defendant:
  THE STATE OF ARKANSAS, et al.                             UNITED STATES DEPARTMENT OF EDUCATION,
                                                            MIGUEL CARDONA, CATHERINE E. LHAMON,
                                                            RANDOLPH WILLS


Attorney:                                                  Attorney:
  See Docket Sheet                                           See Docket Sheet



Court Reporter(s):                                         Please return files and documents to:
  None                                                       Clerk for Eastern District of Missouri

                                                           Person to contact about the appeal:
                                                             J Horton at 314-244-7900


 Length of trial               Fee:                          IFP:                           Pending IFP Motion
 N/A                           None Paid                     None                           No

 Counsel:                      Pending Motions:              Local Interest:                Simultaneous Release:
 Yes                           No                            No                             No


Criminal Cases/Prisoner Pro Se Cases Only:
  Is defendant incarcerated?: No                    Where:

Please list all other defendants in this case if there were multiple defendants:
